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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            CRIMINAL MINUTES - GENERAL



 Case No.          CR 21-443 PA                                                           Date    April 25, 2022


 Present: The Honorable        PERCY ANDERSON, U.S. DISTRICT JUDGE
 Interpreter       N/A
  Kamilla Sali-Suleyman (video)               Lisa Gonzalez (video)                        Julie Shemitz (video)
                Deputy Clerk              Court Reporter/Recorder, Tape                   Assistant U.S. Attorney


                U.S.A. v. Defendant(s):        Present Cust. Bond         Attorneys for Defendants:     Present App. Ret.

Timothy Cornell Patterson (video)                /            /       Stanley I Greenberg (video)            /                /
                                                                      Eugene P. Hanrahan (video)             /                /

 Proceedings:            SENTENCING by ZOOM (non-evidentiary)

      For the terms and conditions of the sentencing, refer to Judgment and
Probation/Commitment Order.



                                                                                                         :         40
                                                               Initials of Deputy Clerk               KSS
cc: USPO, PSA, USMO, BOP,




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